                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

RUTH SMITH, Individually and as Widow                )
for the Use and Benefit of Herself and the           )
Next of Kin of RICHARD SMITH, Deceased,              )      Case #: 3:05-00444
                                                     )      Judge Trauger
                              Plaintiff,             )
                                                     )
                -against-                            )
                                                     )
PFIZER INC., PARKE-DAVIS,                            )
a division of Warner-Lambert Company                 )
and Warner-Lambert Company LLC,                      )
WARNER-LAMBERT COMPANY,                              )
WARNER-LAMBERT COMPANY LLC and                       )
JOHN DOE(S) 1-10,                                    )
                                                     )
                              Defendants.            )

                   DECLARATION OF KENNETH B. FROMSON, ESQ.
                IN OPPOSITION TO DEFENDANTS’ MOTION IN LIMINE
                TO EXCLUDE THE TESTIMONY OF DR. CHARLES KING

        I, Kenneth B. Fromson, deposes and states as follows:

        1.      I am a partner with the law firm of Finkelstein & Partners, LLP, attorneys for the

Plaintiff in this matter.

        2.      This declaration is submitted in opposition to Defendants’ motion in limine to

exclude the testimony of Plaintiff’s expert Dr. Charles King.

        3.      Dr. King was provided with a hard drive which contained all of the documents

that were produced by Defendants to Plaintiffs in the MDL. He was also provided with software

to allow him to search the documents.

        4.      The following documents are attached hereto in opposition to Defendants’

motion:

        Exhibit A - Expert report of Dr. Charles King dated October 22, 2007




   Case 3:05-cv-00444 Document 165 Filed 04/27/10 Page 1 of 3 PageID #: 3595
      Exhibit B - Declaration of Dr. Charles King Dated 4/27/2010

      Exhibit C - Printout from an Excel Spreadsheet created by Pfizer employee Nanci
                  Mancini Dated April 9, 2002

      Exhibit D - Steidman, et al. "The Promotion of Gabapentin: An Analysis of Internal
                  Industry Documents," Annals of Internal Medicine, August 16, 2006, 145(4)

      Exhibit E - Criminal Information in U.S. v. Warner Lambert, dated May 13, 2004

      Exhibit F - Excerpts from the July 20, 2009 pre-trial conference before Judge Patti B.
                  Saris in Bulger v. Pfizer Inc., U.S. District Court, District of Massachusetts

      Exhibit G - Pfizer_MHauben_000122 dated 3/15/2001, Proposal for post-marketing
                  safety review

      Exhibit H - Excerpts of Dr. Charles King’s trial testimony from Shearer v. Pfizer Inc.,
                  in U. S. District Court, District of Massachusetts, before Judge Young

      Exhibit I – Excerpt from Day 2 of Daubert Hearing before Judge Patti B. Saris in
                  Neurontin MDL, In re Sales, Marketing Practices and Products Liability
                  Litigation, U.S. District Court, District of Massachusetts

      Exhibit J – Excerpts from the Deposition of Dr. King dated 10/28/2008

      I declare under penalty of perjury that the foregoing is true and correct.

Dated: April 27, 2010

                                                  /s/ Kenneth B. Fromson
                                                  Kenneth B. Fromson
                                                  Finkelstein & Partners, LLP
                                                  1279 Route 300, P.O. Box 1111
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                                                  (800) 634-1212
                                                  Attorneys for Plaintiff Ruth Smith




                                    2
  Case 3:05-cv-00444 Document 165 Filed 04/27/10 Page 2 of 3 PageID #: 3596
                               CERTIFICATE OF SERVICE

       I hereby certify that on this the 27th day of April, 2010, I electronically filed the

foregoing document with the Clerk of the Court, United States District Court for the Middle

District of Tennessee, using the CM/ECF system. True and correct copies of the foregoing

documents are being served via the Court's CM/ECF system on the following:

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                                                  /s/ Kenneth B. Fromson
                                                  Kenneth B. Fromson




                                    3
  Case 3:05-cv-00444 Document 165 Filed 04/27/10 Page 3 of 3 PageID #: 3597
